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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF TEXAS
                                             HOUSTON DIVISION


IN RE:   Joseph Steven Sepulveda                                      CHAPTER 13
         1835 Forest Hill Blvd
         Houston, TX 77023-2513                                       CASE NO. 18-35001-H2

                      DEBTOR


          NOTICE OF HEARING REGARDING (1) CONFIRMATION OF PROPOSED CHAPTER 13 PLAN,
           (2) VALUATION OF COLLATERAL, (3) DISMISSAL OF CHAPTER 13 BANKRUPTCY CASE,
         (4) CONVERSION OF CHAPTER 13 CASE, AND (5) ENTRY OF OTHER ORDERS CONCERNING
                                   ADMINISTRATION OF CASE

         The United States Bankruptcy Court will conduct a hearing on whether (1) to confirm the debtor(s)
proposed bankruptcy plan, (2) dismiss this case, (3) convert this case under chapter 7, and/or (4) to enter other
orders concerning the administration of this case. The hearing will take place on November 29, 2018 at 9:00 am at U.S.
Bankruptcy Court, 515 Rusk, Room 400, 4th Floor, Houston, TX 77002-0000.

          Attached to this notice is a copy of the statistical cover sheet submitted by the debtor(s) with their
proposed plan. This cover sheet serves as a summary of the plan. A complete copy of the proposed plan is
available from clerk of the Court or the Debtor(s) Attorney. The Court may consider the current plan or a modified
plan at the confirmation hearing.

         If you object to confirmation of the plan, you must file your objection at least seven days before the
confirmation hearing and serve a copy of the objection on the debtor, the debtor(s) counsel, the Chapter 13 Trustee,
and parties requesting notice.

        If the plan is not confirmed, the Court may consider whether to dismiss this chapter 13 case due to
unreasonable delay that is prejudicial to creditors. The Court may also consider whether the case should be
converted to a case under chapter 7 of the Bankruptcy Code.

         The Court may also consider whether to enter other orders that are appropriate for administration of this
case.
Dated: 09/26/2018
                                                         /s/ David G. Peake
                                                         DAVID G. PEAKE, TRUSTEE
                                                         ADMISSIONS ID NO. 15679500
                                                         9660 HILLCROFT, STE 430
                                                         HOUSTON, TX 77096
                                                         (713)283-5400
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